       Case 3:17-cv-00558-SRU Document 334 Filed 01/29/20 Page 1 of 4



                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

ONTARIO TEACHERS’ PENSION PLAN BOARD, :
Individually and as Lead Plaintiff on behalf of all :
                                                    :   No. 3:17-cv-00558 (SRU)
others similarly situated; and
                                                    :
ANCHORAGE POLICE & FIRE RETIREMENT                  :
SYSTEM, Individually and as Named Plaintiff on      :   Class Action
behalf of all similarly-situated bond purchasers,   :
        Plaintiffs,                                 :
                                                    :
                v.                                  :
                                                    :
TEVA PHARMACEUTICAL INDUSTRIES LTD.; :
EREZ VIGODMAN; EYAL DESHEH; SIGURDUR :
OLAFSSON; DEBORAH GRIFFIN; KÅRE                     :
SCHULTZ; MICHAEL MCCLELLAN; YITZHAK                 :
PETERBURG; AND TEVA PHARMACEUTICAL                  :
FINANCE NETHERLANDS III B.V.,                       :
                                                    :
        Defendants.                                 :   January 28, 2020


                       PARTIES’ JOINT RESPONSE TO THE
                    DIRECT ACTION PLAINTIFFS’ SUR-REPLY
         Case 3:17-cv-00558-SRU Document 334 Filed 01/29/20 Page 2 of 4



       The Parties1 respectfully submit that the Direct Action Plaintiffs’ sur-reply in no way

undermines the Parties’ Proposed Order. Instead, the Direct Action Plaintiffs’ efforts confirm the

overwhelming need for a comprehensive, streamlined management of all Related Actions.

       There is no true dispute: the Parties’ Proposed Order does not limit the Direct Action

Plaintiffs from retaining experts to opine on any unique issues, such as Israeli and state law claims

or Teva securities, that are not at issue in the Ontario Action. Nor does it take away their ability

to present expert evidence at the proper time. Instead, the Proposed Order would only limit for

pre-trial purposes expert reports and testimony on common issues. (ECF 326 at 28.)

       The Direct Action Plaintiffs nonetheless seek carte blanche as to all expert issues

simultaneously with the Class. That is improper and would result in prejudice to Defendants and

the Class. Specifically, allowing the Direct Action Plaintiffs to pursue simultaneous expert

discovery would saddle Defendants with the expense and burden of responding to additional,

duplicative expert reports, potentially conflict with the Class’s experts, and waste valuable Party

and Court resources for no justifiable reason. Petrobras—cited by the Direct Action Plaintiffs and

the Parties—undermines the Direct Action Plaintiffs’ proposal and exemplifies the dysfunction

and harm that result when opt-out plaintiffs proffer separate expert testimony on common issues.

There, opt-out plaintiffs simultaneously proffered expert discovery on common issues in conflict

with the class. This multiplied the burden on defendants, conflicted with the class’s damages

analysis, and yielded a “battle of damages experts . . . particularly confusing for a jury.” (ECF 326

at 29.) The Direct Action Plaintiffs—represented by many of the same lawyers as in Petrobras—

improperly seek to recreate the same confusion and waste here. Although the Direct Action


1
  Capitalized terms not defined herein have the meanings specified in the joint motion filed in the
Ontario Action (ECF 311) or the operative Second Amended Complaint (ECF 310). ECF citations
refer to filings in the Ontario Action.
         Case 3:17-cv-00558-SRU Document 334 Filed 01/29/20 Page 3 of 4



Plaintiffs invoke “due process,” they appear driven to maximize their leverage as holdouts through

increased burden and expense.

       Finally, there is no need for the Court to sort out common versus unique issues now, 14

months before expert discovery even begins. Indeed, there may ultimately be no unique issues for

expert discovery; the Direct Action Plaintiffs’ Israeli and state law claims may not survive

Defendants’ forthcoming motions to dismiss (see ECF 326 at 22-23), and the Direct Action

Plaintiffs may elect to join any Class that is certified. In the event that any unique issues do remain,

the Direct Action Plaintiffs will be free to serve expert reports on those issues, as the Proposed

Order has no impact on their ability to present experts after the Ontario Action is resolved. The

Parties only seek to consolidate the Direct Actions with the Ontario Action for pre-trial purposes.2

       The Court should therefore reject the Direct Action Plaintiffs’ inappropriate effort to give

themselves carte blanche expert discovery, prejudicing Defendants and the Class, and should enter

the Parties’ Proposed Order.




2
 Courts have set opt-out plaintiffs’ expert discovery to follow after resolution of the class claims,
so as to avoid disparate opinions and excessive burdens on defendants and the court. See e.g., AIG
Sec. Litig., 12-cv-6071 (S.D.N.Y. Jan. 30, 2013), ECF 14 at 10.
                                                   2
       Case 3:17-cv-00558-SRU Document 334 Filed 01/29/20 Page 4 of 4



                                                  Respectfully submitted,

PLAINTIFFS ONTARIO TEACHERS’                      DEFENDANTS TEVA
PENSION PLAN BOARD, and                           PHARMACEUTICAL INDUSTRIES LTD.;
ANCHORAGE POLICE & FIRE                           EREZ VIGODMAN; EYAL DESHEH;
RETIREMENT SYSTEM                                 SIGURDUR OLAFSSON; DEBORAH
                                                  GRIFFIN; KÅRE SCHULTZ; MICHAEL
/s/ Joseph Fonti                                  MCCLELLAN; YITZHAK PETERBURG;
Joseph Fonti (admitted pro hac vice)              and TEVA PHARMACEUTICAL FINANCE
Javier Bleichmar (admitted pro hac vice)          NETHERLANDS III B.V.
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